                            Case 4:23-cr-00165 Document 7 Filed on 04/12/23 in TXSD Page 1 of 1
 USA-74-24B
 (Rev. 05/01)
                                                                      CRIMINAL DOCKET
HOUSTON DIVISION                                                         United States Courts                         No. 4:23-cr-165
USAO Number:                                                           Southern District of Texas
                   2023R02031                                                   FILED
Magistrate Number: 4:23-mj-568                                               April 12, 2023
CRIMINAL INDICTMENT                                          Filed Nathan Ochsner, Clerk of Court Judge:                        Hoyt
                                                                                               ATTORNEYS:
UNITED STATES of AMERICA
                                                                                  ALAMDAR S. HAMDANI, USA                             (713) 567-9000
 vs.
                                                                                  Kimberly A. Leo, AUSA                                (713) 567-9000

                                                                                                                                     Appt'd     Private
 DANIEL BYRD




                     Ct. 1: Distribution of Child Pornography [18 USC §§ 2252A(a)(2)(B) and 2252A(b)(1)]

 CHARGE: Ct. 2: Receipt of Child Pornography [18 USC §§ 2252A(a)(2)(B) and 2252A(b)(1)]
  (TOTAL)
          Ct. 3: Possession of Child Pornography [18 USC §§ 2252A(a)(5)(B) and 2252A(b)(2)]
(COUNTS:)
  (    3    )




PENALTY: Cts. 1&2: No less than 5 years and not more than 20 years in prison, up to $250,000 fine, supervised release for any term of
                      years not less than 5 years up to life, $100 special assessment; $5,000 special assessment (Justice for Victims Trafficking
                      Act 2015); up to $35,000 special assessment (AVAA) & mandatory restitution of at least $3,000 per victim.
                      Ct. 3: Up to 10 years in prison, up to $250,000 fine, supervised release for any term of years not less than 5 years up to life,
                      $100 special assessment;
                      $5,000 special assessment (Justice for Victims Trafficking Act 2015); up to $17,000 special assessment (AVAA) &
                      mandatory restitution of at least $3,000 per victim.




           In Jail                                                                NAME & ADDRESS
                                                                                  of Surety:
       x On Bond

           No Arrest

                                                                    PROCEEDINGS:
